                                      UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF PENNSYLVANIA

In re:

 Paul E. Deardorff, III                                        Chapter 13
         Debtor 1
                                                               Case No. 1:23-BK-02086-HWV

                                                               Matter: Motion to Modify Confirmed Plan


                             DEBTOR(S)’ MOTION TO MODIFY CONFIRMED PLAN

         AND NOW, come the Debtor(s), Paul E. Deardorff, III, through their attorney, Paul D. Murphy-Ahles, Esquire and

DETHLEFS PYKOSH & MURPHY, who files the within Debtor(s)’ Motion to Modify Confirmed Plan and aver as follows:

         1.     Debtor(s) filed a Chapter 13 Bankruptcy Petition and Plan on or about September 14, 2023. The purpose

of the Bankruptcy was to pay Debtor(s)’ secured and unsecured creditors.

         2.     The Second Amended Plan was confirmed by Order of October 6, 2024.

         3.     Since confirmation of the Second Amended Plan, Debtor(s) fell behind on their Chapter 13 payments.

         4.     To cure the arrears owed on the Chapter 13 Plan and to fully fund the plan, Debtor(s) file the instant Third

Amended Plan.

         5.     The Third Amended Plan proposes to increase Debtor(s)’ plan payments to $424.00 for the remaining 44

months of the Plan to cure all plan payment arrears and to fully fund the Plan.

         6.     In accordance with Local Rule 2016-2(f), the Third Amended Plan includes an additional $600.00 in

attorneys’ fees to be paid through the Plan to Debtor(s)’ counsel.

         WHEREFORE, Debtor(s) respectfully request this Court grant Debtor(s)’ Motion to Modify Confirmed Plan.

                                                               Respectfully submitted,
                                                               DETHLEFS PYKOSH & MURPHY

 Date: February 7, 2025                                        /s/ Paul D. Murphy-Ahles

                                                               Paul D. Murphy-Ahles, Esquire
                                                               PA ID No. 201207
                                                               2132 Market Street
                                                               Camp Hill, PA 17011
                                                               (717) 975-9446
                                                               pmurphy@dplglaw.com
                                                               Attorney for Debtor(s)




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                                        LOCAL BANKRUPTCY FORM 3015-1

                                 IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:                                                        CHAPTER 13

 PAUL D. DEARDORFF, III                                        CASE NO. 1:23-BK-02086-HWV

                                                               ☐       ORIGINAL PLAN
                                                               3rd     AMENDED PLAN (indicate 1st, 2nd 3rd, etc.)

                                                                 0 number of Motions to Avoid Liens
                                                                 0 number of Motions to Value Collateral

                                                  CHAPTER 13 PLAN

                                                       NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the following items. If an item
is checked as “Not Included” or if both boxes are checked or if neither box is checked, the provision will be ineffective if
set out later in the plan.

  1     The Plan contains nonstandard provisions, set out in §9, which are not
        included in the standard Plan as approved by the US Bankruptcy Court         ☐ Included         ☒ Not Included
        for the Middle District of Pennsylvania.
  2     The Plan contains a limit on the amount of a secured claim, set out in
        §2.E, which may result in a partial payment or no payment at all to the      ☐ Included         ☒ Not Included
        secured creditor.
  3     The Plan avoids a judicial lien or nonpossessory, nonpurchase-money
                                                                                     ☐ Included         ☒ Not Included
        security interest, set out in §2.G.

                                        YOUR RIGHTS WILL BE AFFECTED

READ THIS PLAN CAREFULLY. If you oppose any provision of this Plan, you must file a timely written objection. This
Plan may be confirmed and become binding on you without further notice or hearing unless a written objection is filed
before the deadline stated on the Notice issued in connection with the filing of the Plan.

    1. PLAN FUNDING AND LENGTH OF PLAN

            A. Plan Payments from Future Income

                1. To date, the Debtor paid $4,579.00 ($0 if no payments have been made to the Trustee to date).
                   Debtor shall pay to the Trustee for the remaining term of the Plan the following payments. If applicable,
                   in addition to monthly Plan payments, Debtor shall make conduit payments through the Trustee as set
                   forth below. The total base Plan is $23,235.00 plus other payments and property stated in §1B below:

                                                                     Estimated           Total
       Start               End                  Plan                                                     Total Payment
                                                                      Conduit           Monthly
      mm/yyyy             mm/yyyy             Payment                                                    Over Plan Tier
                                                                     Payment            Payment
      02/2025             09/2028              $424.00                 $0.00            $424.00             $18,656.00
                                                                                    Total Payments:         $23,235.00



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        2. If the Plan provides for conduit mortgage payments, and the mortgagee notifies the Trustee that a
           different payment is due, the Trustee shall notify the Debtor and any attorney for the Debtor, in writing,
           to adjust the conduit payment and the Plan funding. Debtor must pay all post-petition mortgage
           payments that have come due before the initiation of conduit mortgage payments.

        3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform to the terms of
           the Plan.

        4. CHECK ONE:
           ☒ Debtor is at or under median income. If this line is checked, the rest of §1.A.4 need not be completed
           or reproduced.
           ☐ Debtor is over median income. Debtor estimates that a minimum of $0.00 must be paid to allowed
           unsecured creditors in order to comply with the Means Test.

     B. Additional Plan Funding from Liquidation of Assets/Other

        1. The Debtor estimates that the liquidation value of this estate is $0.00. (Liquidation value is calculated
           as the value of all non-exempt assets after the deduction of valid liens and encumbrances is before the
           deduction of Trustee fees and priority claims.)

            CHECK ONE:
            ☒ No assets will be liquidated. If this line is checked, skip §1.B.2 and complete §1.B.3, if applicable.
            ☐ Certain assets will be liquidated as follows:

        2. In addition to the above specified Plan payments, Debtor shall dedicate to the Plan proceeds in the
           estimated amount of $0.00 from the sale of property known and designated as                 . All sales shall
           be completed by         , 20      . If the property does not sell by the date specified, then the disposition
           of the property shall be as follows:

        3. Other payments from any source(s) (describe specifically) shall be paid to the Trustee as follows: any
           nonexempt proceeds from Debtor’s worker’s comp claim.

2. SECURED CLAIMS

     A. Pre-Confirmation Distributions Check One

            ☒ None. If “None” is checked, the rest of §2.A need not be completed or reproduced.
            ☐ Adequate protection and conduit payments in the following amounts will be paid by the Debtor to
            the Trustee. The Trustee will disburse these payments for which a Proof of Claim has been filed as
            soon as practicable after receipt of said payments from the Debtor.

                                                                              Last Four Digits         Estimated
                        Name of Creditor                                        of Account             Monthly
                                                                                 Number                Payment



         1. The Trustee will not make a partial payment. If the Debtor makes a partial Plan payment, or if it is
            not paid on time and the Trustee is unable to pay timely a payment due on a claim in this section, the
            Debtor’s cure of this default must include any applicable late charges.

         2. If a mortgagee files a notice pursuant to Fed. R. Bankr. P. 3002.1(b), the change in the conduit payment
            to the Trustee will not require modification of this Plan.


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    B. Mortgages (Including Claims Secured by Debtor’s Principal Residence) and Other Direct Payments
       by Debtor Check One

           ☐ None. If “None” is checked, the rest of §2.B need not be completed or reproduced.
           ☒ Payments will be made by the Debtor directly to the Creditor according to the original contract
           terms, and without modification of those terms unless otherwise agreed to by the contracting parties.
           All liens survive the Plan if not avoided or paid in full under the Plan.

                                                                                                         Last Four
                                                                                                          Digits of
             Name of Creditor                                     Description of Collateral
                                                                                                          Account
                                                                                                          Number
                                                                    9552 Mountain Road
              Rocket Mortgage                                                                               9063
                                                                    Grantville, PA 17028
          OneMain Financial Group                                  1998 Chevrolet Corvette                  5186

    C. Arrears (Including, but not limited to, Claims Secured by Debtor’s Principal Residence) Check One

           ☐ None. If “None” is checked, the rest of §2.C need not be completed or reproduced.
           ☒ The Trustee shall distribute to each Creditor set forth below the amount of arrearages in the allowed
           claim. If post-petition arrears are not itemized in an allowed claim, they shall be paid in the amount
           stated below. Unless otherwise ordered, if relief from the automatic stay is granted as to any collateral
           listed in this section, all payments to the Creditor as to that collateral shall cease, and the claim will no
           longer be provided for under §1322(b)(5) of the Bankruptcy Code:

                                                               Estimated Pre-      Estimated
                                                                                                        Estimated
                                                                   Petition       Post-Petition
  Name of Creditor             Description of Collateral                                               Total to be
                                                                Arrears to be     Arrears to be
                                                                                                       Paid in Plan
                                                                    Cured            Cured
                                                                 Debtor(s) to                          Debtor(s) to
                                                               cure arrears by                       cure arrears by
                                                                     loan                                  loan
                                                               modification or                       modification or
                                                                  refinance                             refinance
                                                                   within 8                              within 8
                                                                months of the                         months of the
                                                               confirmation of                       confirmation of
                                 9552 Mountain Road              the Plan. If                          the Plan. If
  Rocket Mortgage                                                                      $0.00
                                 Grantville, PA 17028           Debtor(s) are                         Debtor(s) are
                                                                  unable to                             unable to
                                                               obtain the loan                       obtain the loan
                                                               modification or                       modification or
                                                                  refinance,                            refinance,
                                                                Debtor(s) will                        Debtor(s) will
                                                                amend plan to                         amend plan to
                                                                  surrender                             surrender
                                                                   property.                             property.
East Hanover Township            9552 Mountain Road
                                                                  $476.95              $0.00             $476.95
 Municipal Authority             Grantville, PA 17028

    D. Other Secured Claims (Conduit Payments and Claims for Which a §506 Valuation is Not Acceptable,
       etc.) Check One

           ☐ None. If “None” is checked, the rest of §2.D need not be completed or reproduced.

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           ☒ The claims below are secured claims for which a §506 valuation is not applicable, and can include:
           (1) claims that were either (a) incurred within 910 days of the petition dated and secured by a purchase
           money security interest in a motor vehicle acquired for the personal use of the Debtor, or (b) incurred
           within one year of the petition date and secured by a purchase money security interest in any other thing
           of value; (2) conduit payments; or (3) secured claims not provided for elsewhere.

           1. The allowed secured claims listed below shall be paid in full and their liens retained until the earlier
              of the payment of the underlying debt determined under nonbankruptcy law discharge under §1328
              of the Code.

           2. In addition to payments of the allowed secured claim, present value interest pursuant to 11 U.S.C
              §1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below, unless an objection is
              raised. If an objection is raised, then the Court will determine the present value interest rate and
              amount at the Confirmation Hearing.

           3. Unless otherwise ordered, if the claimant notifies the Trustee that the claim was paid, payments on
              the claim shall cease.

                                                                         Principal                      Total to be
                                                                                          Interest
    Name of Creditor                   Description of Collateral         Balance of                      Paid in
                                                                                           Rate
                                                                           Claim                           Plan
                                          9552 Mountain Road
PA Department of Revenue                                                 $3,471.53         7.00%        $4,124.43
                                          Grantville, PA 17028
                                          9552 Mountain Road
 Internal Revenue Service                                                $9,205.00         7.00%        $10,936.20
                                          Grantville, PA 17028

    E. Secured Claims for Which a §506 Valuation is Applicable Check One

           ☒ None. If “None” is checked, the rest of §2.E need not be completed or reproduced.
           ☐ Claims listed in the subsection are debts secured by property not described in §2.D of this Plan.
           These claims will be paid in the Plan according to modified terms, and liens retained until the earlier
           of the payment of the underlying debt determined under nonbankruptcy law or discharge under §1328
           of the Code. The excess of the Creditor’s claim will be treated as an unsecured claim. Any claim listed
           as “$0.00” or “NO VALUE” in the “Modified Principal Balance” column below will be treated as an
           unsecured claim. The liens will be avoided or limited through the Plan or Debtor will file an adversary
           or other action (select method in last column). To the extent not already determined, the amount, extent
           or validity or the allowed secured claim for each claim listed below will be determined by the Court at
           the Confirmation Hearing. Unless otherwise ordered, if the claimant notifies the Trustee that the claim
           was paid, payments on the claim shall cease.

                                                    Value of                                             Plan,
                             Description of        Collateral                          Total          Adversary,
 Name of Creditor                                                 Interest Rate
                              Collateral           (Modified                          Payment          or Other
                                                   Principal)                                           Action


    F. Surrender of Collateral Check One

           ☒ None. If “None” is checked, the rest of §2.F need not be completed or reproduced.
           ☐ The Debtor elects to surrender to each Creditor listed below in the collateral that secures the
           Creditor’s claim. The Debtor requests that upon confirmation of this Plan or upon approval of any
           modified plan, the stay under 11 U.S.C. §362(a) be terminated as to the collateral only and that the stay
           under §1301 be terminated in all respects. Any allowed unsecured claim resulting from the disposition
           of the collateral will be treated in Part 4 below.
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                                                                         Description of Collateral
             Name of Creditor
                                                                            to be Surrendered



     G. Lien Avoidance Do not use for mortgages or for statutory liens, such as tax liens. Check One of the
        Following Lines

        ☒ None. If “None” is checked, the rest of §2.B need not be completed or reproduced.
        ☐ The Debtor moves to void the following judicial and/or nonpossessory, nonpurchase money liens of the
        following creditors pursuant to §522(f) (this § should not be used for statutory or consensual liens such as
        mortgages).

                        Name of Lien Holder
                         Lien Description
              for Judicial Liens, include court and docket number
                  Description of Liened Property
                       Liened Asset Value
                      Sum of Senior Liens
                        Exemption Claim
                         Amount of Lien
                        Amount Avoided

3. PRIORITY CLAIMS

     A. Administrative Claims

        1. Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed by the United States
           Trustee.

        2. Attorney’s Fees. Complete Only One of the Following Options

                a. In addition to the retainer of $1,375.00 already paid by the Debtor, the amount of $3,725.00 in
                   the Plan. This represents the unpaid balance of the presumptively reasonable fee specified in
                   LBR 2016-2(c); or
                b. $0.00 per hour, with the hourly rate to be adjusted in accordance with the terms of the written
                   fee agreement between Debtor and the Attorney. Payment of such lodestar compensation shall
                   require a separate fee application with the compensation approved by the Court pursuant to
                   LBR 2016-2(b).

        3. Other. Other administrative claims not included in §§3.A.1 or 3.A.2 above. Check One

            ☒ None. If “None” is checked, the rest of §3.A.3 need not be completed or reproduced.
            ☐ The following administrative claims will be paid in full:



                          Name of Creditor                                        Estimated Total Payment




     B. Priority Claims (including certain Domestic Support Obligations)

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         Allowed unsecured claims entitled to priority under §1322(a) will be paid in full unless modified under §9



                         Name of Creditor                                           Estimated Total Payment

                     Internal Revenue Service                                             $2,041.44

      C. Domestic Support Obligations Assigned to or Owed to a Governmental Unit Under 11 U.S.C.
         §507(1)(a)(B) Check One

         ☒ None. If “None” is checked, the rest of §3.C need not be completed or reproduced.
         ☐ The allowed priority claims listed below are based on a domestic support obligation that has been
         assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim. This
         Plan provision requires that payments in §1.A be for a term of 60 months (see 11 U.S.C. §1322(a)(4)).



                         Name of Creditor                                           Estimated Total Payment




4. UNSECURED CLAIM

      A. Claims of Unsecured Nonpriority Creditors Specially Classified Check One

         ☒ None. If “None” is checked, the rest of §4.A need not be completed or reproduced.
         ☐ To the extent that funds are available, the allowed amount of the following unsecured claims, such as
         co-signed unsecured debts, will be paid before other, unclassified, unsecured claims. The claim shall be
         paid interest at the rate stated below. If no rate is stated, the interest rate set forth in the Proof of Claim
         shall apply.

                                                                       Estimated                         Estimated
                                          Reason for Special                              Interest
      Name of Creditor                                                 Amount of                           Total
                                            Classification                                 Rate
                                                                         Claim                           Payment



      B. Remaining allowed unsecured claims will receive a pro-rata distribution of funds remaining after
         payment of other classes.

5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES Check One

         ☒ None. If “None” is checked, the rest of §5 need not be completed or reproduced.
         ☐ The following contracts and leases are assumed (and arrears in the allowed claim to be cured in the Plan)
         or rejected:



                    Description of
Name of Other                           Monthly          Interest       Estimated       Total Plan       Assume or
                     Contract or
   Party                                Payment           Rate           Arrears         Payment           Reject
                        Lease



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    6. VESTING OF PROPERTY OF THE ESTATE
       Property of the estate will vest in the Debtor upon: Check the Applicable Line

                 ☐ Plan Confirmation
                 ☒ Entry of Discharge
                 ☐ Closing of Case

    7. DISCHARGE Check One

                 ☒ The Debtor will seek a discharge pursuant to §1328(a).
                 ☐ The Debtor is not eligible for a discharge because the Debtor has previously received a discharge
                 described in §1328(f).

    8. ORDER OF DISTRUBITION

         If a pre-petition Creditor files a secured, priority or specifically classified claim after the bar date, the Trustee will
         treat the claim as allowed, subject to objection by the Debtor.

         Payments from the Plan will be made by the Trustee in the following order:
         Level 1:
         Level 2:
         Level 3:
         Level 4:
         Level 5:
         Level 6:
         Level 7:
         Level 8:

         If the above levels are filled in, the rest of §8 need not be completed or produced. If the above levels are not filled-
         in, then the Order of Distribution of Plan payments will be determined by the Trustee using the following as a guide:

         Level 1: adequate protection payments
         Level 2: Debtor’s attorney’s fees
         Level 3: Domestic Support Obligations
         Level 4: priority claims, pro rata
         Level 5: secured claims, pro rata
         Level 6: specifically classified unsecured claims
         Level 7: timely filed general unsecured claims
         Level 8: untimely filed general unsecured claims to which the Debtor has not objected

    9. NONSTANDARD PLAN PROVISIONS

         Include the additional provisions below or on an attachment. Any nonstandard provision placed elsewhere
         in the Plan is void. (NOTE: The Plan and any attachment must be filed as one document, not as a Plan and
         Exhibit.)

         02/06/2025                                          /s/ Paul D. Murphy-Ahles
Dated:
                                                             Attorney for Debtor

                                                             /s/ Paul E. Deardorff, III

                                                         Debtor 1
By filing this document, the Debtor, if not represented by an Attorney, or the Attorney for Debtor also certifies that this
Plan contains no nonstandard provisions other than those set out in §9.
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                                     UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF PENNSYLVANIA

In re:

 Paul E. Deardorff, III                                        Chapter 13
         Debtor 1
                                                               Case No. 1:23-BK-02086-HWV

                                                               Matter: Motion to Modify Confirmed Plan


                                                         NOTICE

NOTICE OF OPPORTUNITY TO OBJECT AND HEARING: Pursuant to Local Rule 2002-1(a), the Court will consider
this Motion without further notice of hearing unless a party in interest files an objection/response on or before February
28, 2025. If you object to the relief requested, you must file your objection/response with the Court of the Court and serve
a copy of it on the Movant and Movant’s Attorney.

If you file and serve an objection/response within the time permitted, the Court may schedule a hearing, and you will be
notified. If you do not file an objection within the permitted time, the Court will deem the Motion unopposed and proceed
to consider the Motion without further notice or hearing and the Court may grant the relief requested.


 Date: February 7, 2025                                        Paul D. Murphy-Ahles, Esquire
                                                               PA ID No. 201207
                                                               DETHLEFS PYKOSH & MURPHY
                                                               2132 Market Street
                                                               Camp Hill, PA 17011
                                                               (717) 975-9446
                                                               pmurphy@dplglaw.com
                                                               Attorney for Debtor(s)




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                                   UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF PENNSYLVANIA

In re:

 Paul E. Deardorf, III                                     Chapter 13
         Debtor 1
                                                           Case No. 1:23-BK-02086-HWV

                                                           Matter: Motion to Modify Confirmed Plan


                                               ORDER OF COURT

UPON CONSIDERATION of Debtor(s)’ Motion to Modify Confirmed Plan, and satisfactory grounds having been stated

and without objection, it IS HEREBY ORDERED that Debtor(s)’ Motion to Modify Confirmed Plan is APPROVED, and

Debtor(s)’ Plan is hereby MODIFIED consistent with the terms of the Third Amended Chapter 13 Plan. The Third Amended

Chapter 13 Plan replaces and supersedes the “Second Amended Chapter 13 Plan” as confirmed on October 6, 2024.




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                                      MIDDLE DISTRICT OF PENNSYLVANIA

In re:

 Paul E. Deardorff, III                                        Chapter 13
         Debtor 1
                                                               Case No. 1:23-BK-02086-HWV

                                                               Matter: Motion to Modify Confirmed Plan


                                             CERTIFICATE OF SERVICE

I hereby certify that on Friday, February 7, 2025, I served a true and correct copy of Debtor(s)’ Motion to Modify

Confirmed Plan, Third Amended Plan, Notice of Opportunity to Objection and Hearing Date, and proposed Order

in this proceeding via electronic means or USPS First Class Mail upon the recipients as listed in the Mailing Matrix.


                                                              /s/ Kathryn S. Greene

                                                              Kathryn S. Greene, M-Jur., RP®, Pa.C.P.
                                                              Paralegal for Paul D. Murphy-Ahles, Esquire




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Label Matrix for local noticing                     U.S. Bankruptcy Court                                Bureau of Account Management
0314-1                                              Sylvia H. Rambo US Courthouse                        3607 Rosemont Avenue, Suite 502
Case 1:23-bk-02086-HWV
Middle District of Pennsylvania
                                                       ELECTRONIC
                                                    1501 N. 6th Street
                                                    Harrisburg, PA 17102-1104
                                                                                                         PO Box 8875
                                                                                                         Camp Hill, PA 17001-8875
Harrisburg
Mon Feb 12 15:50:59 EST 2024
Cavalry SPV II, LLC                                 East Hanover Township Municipal Authority            East Hanover Township Municpal Auth
PO Box 4252
Greenwich, CT 06831-0405
                                                    8848 Jonestown Road
                                                    Grantville, PA 17028-8650                              DUPLICATE
                                                                                                         8848 Jonestown Road
                                                                                                         Grantville, PA 17028-8650



Enhanced Recovery Company, LLC                      Internal Revenue Service                             KML Law Group, PC
8014 Bayberry Road                                  Centralized Insolvency Operation                     BNY Mellon Independence Center
PO Box 23870                                        PO Box 7346                                          701 Market Street, Suite 5000
Jacksonville, FL 32241-3870                         Philadelphia, PA 19101-7346                          Philadelphia, PA 19106-1541


Met Ed                                              OneMain Financial                                    OneMain Financial Group, LLC
101 Crawford’s Corner Road
Building 1 Suite 1-511                                DUPLICATE
                                                    PO Box 3251
                                                    Evansville, IN 47731-3251
                                                                                                         601 NW 2nd Street
                                                                                                         PO Box 3251
Holmdel NJ 07733-1976                                                                                    Evansville, IN 47731-3251


PA Department of Revenue                            (p)PORTFOLIO RECOVERY ASSOCIATES LLC                 PRA Receivables Management, LLC
Attn: Bankruptcy Division
PO Box 280496
                                                    PO BOX 41067
                                                    NORFOLK VA 23541-1067                                 DUPLICATE
                                                                                                         PO Box 41021
                                                                                                         Norfolk, VA 23541-1021
Harrisburg, PA 17128-0946


PSECU                                               PSECU                                                Pennsylvania Department of Revenue
  DUPLICATE
1500 Elmerton Avenue
PO Box 67013
                                                    P.O. BOX 67013
                                                    HARRISBURG, PA 17106-7013                              DUPLICATE
                                                                                                         Bankruptcy Division PO BOX 280946
                                                                                                         Harrisburg, PA 17128-0946
Harrisburg, PA 17106-7013


Rocket Mortgage, LLC                                Rocket Mortgage, LLC f/k/a Quicken Loans, LL         Rocket Mortgage, LLC f/k/a Quicken Loans, LL
   DUPLICATE
1050 Woodward Avenue                                f/k/a Quicken Loans Inc.
                                                                                                            DUPLICATE
                                                                                                         635 Woodward Avenue
Detroit, MI 48226-3573
                                                      ELECTRONIC
                                                    c/o Lorraine Gazzara Doyle, Esq.
                                                    One Jenkintown Station, Suite 104
                                                                                                         Detroit, MI 48226-3408

                                                    115 West Avenue
                                                    Jenkintown, PA 19046-2031
United States Trustee                               Verizon                                              (p)JACK N ZAHAROPOULOS
  ELECTRONIC
US Courthouse
1501 N. 6th St
                                                    by American InfoSource as agent
                                                    PO Box 4457                                            ELECTRONIC
                                                                                                         ATTN CHAPTER 13 TRUSTEE
                                                                                                         8125 ADAMS DRIVE SUITE A
Harrisburg, PA 17102-1104                           Houston, TX 77210-4457                               HUMMELSTOWN PA 17036-8625


Paul Donald Murphy-Ahles                            Paul E. Deardorff III
  ELECTRONIC
Dethlefs Pykosh & Murphy
2132 Market Street
                                                    9552 Mountain Road
                                                    Grantville, PA 17028-9326
Camp Hill, PA 17011-4706




                  The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                  by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).

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PORTFOLIO RECOVERY ASSOCIATES, LLC                  Jack N Zaharopoulos
POB 41067                                           Standing Chapter 13
Norfolk, VA 23541                                   (Trustee)
                                                    8125 Adams Drive, Suite A
                                                    Hummelstown, PA 17036




                The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Rocket Mortgage, LLC f/k/a Quicken Loans,        End of Label Matrix
                                                    Mailable recipients   25
                                                    Bypassed recipients    1
                                                    Total                 26




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